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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
Susie Nguyen, et al. v. § MAG. JUDGE SHUSHAN
BP Exploration & Production, etal §

EDLA No. 10-4234 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs SON DO, THANH THAI, TAN PHAM,
HANG LE, THILE TRAN, PHAN THANH, THOMAS NGUYEN and XUAN NGUYEN'S
Motion for Leave of Court to Voluntarily Dismiss Claims Without Prejudice is hereby in
all things is GRANTED.

IF 1S FURTHER ORDERED THAT that the claims of Plaintiffs SON DO, THANH
THAI, TAN PHAM, HANG LE, THILE TRAN, PHAN THANH, THOMAS NGUYEN and
XUAN NGUYEN only, as listed on Exhibit “A” attached to said Motion are hereby
dismissed without prejudice. This Order in no way affects the claims of the remaining

Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2071.

HONORABLE CARL J. BARBIER
